              IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                )
                                         )
                  v.                     )   Criminal No. 19-139
                                         )
                                         )
JAMES G. ALLEN, JR.,                     )
                                         )
                  Defendant.             )


                 SENTENCING MEMORANDUM ON BEHALF OF
                         JAMES G. ALLEN, JR.


     AND    NOW    comes    Defendant,   James   G.    Allen,   Jr.,

(hereinafter referred to as Dr. Allen), by and through his

attorney,   R.    Anthony   DeLuca,   Esquire,   and   respectfully

submits the within Memorandum:



                               OPENING

            To some, the allure of Greek Sirens is just as

powerful today as it was in ancient mythological times. Their

enchanting music and melodic voices enticed sailors to sail

ahead, oblivious to the deadly outcroppings and shipwreck

onto the rocky coast.       In our current instant-gratification,

digital-informational age, individuals, who should and have

known better, expose themselves to Siren-enticing and self-

confirming viewpoints, that upon more sober reflection, they

never would have explored. Although the above is an imperfect
analogy, Dr. Allen’s steadfast acceptance of the idea that

the    federal       government       could     not,       at    least    with   his

unconventional reasoning, tax his earnings, as advocated in

Peter Hendrickson’s book “Cracking the Code”, reminds one of

a     sailor    intentionally         steering       his        ship   towards    the

beguiling Sirens’ call and to his ultimate doom.                           Regarding

Dr. Allen’s “unconventional reasoning”, his sister Nancy

Lorenz writes in her character letter that Dr. Allen possesses

a “proven ability to critically think outside the box”.

(Exhibit A) While Dr. Steven Chernus in his character letter

states, Dr. Allen “is inclined to express his views with zeal;

I have never known him to act out of dishonorable or venal

motives.”      (Defendant’s Exhibit A)

       However, this is not mythology and Mr. Hendrickson is

not a Greek Siren, therefore the defendant, Dr. James G.

Allen, Jr., stands before this Honorable Court to be sentenced

for his instant conduct, which he readily admits was wrong.

               Dr. Allen understands there exists a thin line

between    presenting         an    explanation      for    one’s      conduct    and

offering an excuse for one’s behavior. He recognizes the

employment      of    an   “excuse”       should     be     limited       to   guilt-

determining          forums        whereby     the     accused           avers   his

conduct/behavior should be forgiven due to circumstances



                                     Page 2 of 21
beyond his control.    Just as a sailor steers his ship into

oblivion because of the irresistible Sirens’ call.

     Dr. Allen posits that an “explanation” on the other hand

is an admission of guilt with an averment as to the motivation

that prompted the conduct or behavior. Like a sailor refusing

to place the sound-blocking wax into his ears, his motivation

being that he believes he could resist the Sirens’ call and

steer the ship into safe waters.

     Although knowing motive is not an element of the instant

offense, Dr. Allen avers that one’s motivation can and should

be considered by a sentencing court in determining the nature

and circumstance of the offense and the defendant’s history

and character.   See United States v. Tomko, 562 F.3d 558, 563

(3d Cir. 2009)(government posited greed rather than community

service and philanthropy defined Tomko’s character in arguing

against a downward variance sentence); See also United States

v. Haines, 2013 U.S. Dist. LEXIS 189439. (E.D. Pa. Nov. 14,

2013) (“Haines' motivation . . . is certainly less offensive

than the greed typically motivating defendants convicted of

fraud, and we find this is an important circumstance of the

offense that could warrant a variance.”)      See also United

States v. Connors, 2007 U.S. Dist. LEXIS 74904, 2007 WL

2955612, at *3 (E.D. Pa. Oct. 9, 2007) (the lack of personal

profit and the Defendant's motivation was found to be relevant
                           Page 3 of 21
to the nature and circumstances of the offense conduct and

could be considered in granting a downward variance.)       The

following narrative is intended to provide context, motive,

and an explanation for Dr. Allen’s conduct and is not meant

in any way to justify or excuse his behavior.

    Dr. Allen was born on February 6, 1966 to James

Granger Allen, Sr. and Elizabeth Allen (nee Johnson).     Mr.

Allen, Sr.’s employment as a mortgage loan officer and Dr.

Allen’s personal experience as a real estate loan officer

and broker plays an integral role in why Dr. Allen

currently stands before this Honorable Court.

    Upon being apprised of an Internal Revenue Service

criminal investigation in the Spring of 2018, Dr. Allen

staunchly believed he did nothing wrong.   The Sirens’ song

was embedded deep within his psyche and was reinforced over

the years with his receipt of 2010 and 2014 tax refund

checks from the federal government, along with a “zero

balance due” letter for Dr. Allen’s 2011 taxes.

(Defendant’s Exhibits B,C,D)   In complete candor, Dr. Allen

would have continued in his belief regarding what is and

what is not “taxable income” if not confronted with the IRS

investigation.

    Nonetheless, Dr. Allen worked with defense counsel and

cooperated with the U.S. Attorney’s Office and the IRS to
                         Page 4 of 21
determine the amount of loss and eliminate the need for a

grand jury indictment.    Dr. Allen provided documentation

and other relevant information which led to Dr. Allen’s

acceptance of the instant one-count criminal information

filed against him on May 9, 2019.         Another example of his

cooperation was his waiver of the statute of limitations

executed on February 4, 2019. (Defendant’s Exhibit E)

       Dr. Allen waived Indictment and entered a guilty plea

to the Information on June 4, 2019.         Dr. Allen stands

prepared to pay the full amount of restitution.         Prior to

Dr. Allen’s guilty plea, he entered into a plea agreement

with the government recognizing the amount of restitution

owed to the government and his ready willingness to repay

said amount in a forthwith manner. See, Presentence

Investigation Report (PIR), paragraph #5.

       Dr. Allen’s acceptance of responsibility earned him

the government’s recommendation of a three-level reduction

in the total offense level. See, PIR, paragraph #8.

       Dr. Allen comes from a broken family. His parents were

divorced in and around 1976, when he was ten (10) years

old.    He moved to Florida with his mother in 1981 and in

March of 1982 dropped out of a Florida High School, during

his sophomore year.    However, Dr. Allen did take the

General Education Development (GED) test prior to leaving
                           Page 5 of 21
the state of Florida.   Shortly thereafter, Dr. Allen moved

back to the Philadelphia area to live with his father.         Dr.

Allen attended Bensalem Senior High School within the

Philadelphia area for a brief period, but stopped attending

classes, when he learned he passed the Florida GED test.

Therefore, Dr. Allen never graduated from high school nor

did he ever receive a high school diploma.      This was the

genesis of Dr. Allen’s untraditional educational journey.

    As a GED educated seventeen-year-old and into his

later teens, Dr. Allen worked within the restaurant

business as a dishwasher, as well as other odd positions.

During these early adult years, Dr. Allen always tried to

maintain some form of employment.

    In 1986, Dr. Allen began a multi-year career in the

mortgage, real estate and finance business.      He attended

real estate courses and became a mortgage loan officer and

then a broker for Citi Corp.    He became very familiar with

the real estate purchasing process.      He was exposed to how

government regulations and policies impacted how the

mortgage and finance businesses could and would operate.

When the real estate market crashed in and around 2007 and

2008 with the ensuing criminal prosecutions, Dr. Allen’s

view of government, rightly or wrongly, became jaded

because he believed the government and its policies played
                          Page 6 of 21
a much larger role in the real estate collapse that led to

the hardships endured by many ordinary citizens.

    His perspective that the government was not properly

held responsible for the harm done to thousands of would-be

homeowners, gave rise to Dr. Allen’s notion that the

government’s edicts and pronouncements along with its other

interactions with ordinary citizens may be flawed.     It also

made him susceptible to the Sirens’ call of Peter

Hendrickson’s book “Cracking the Code” as referenced in

paragraph #18 of the Presentence Investigation Report.

Ever wary not to cross the line of excuse versus

explanation, Dr. Allen avers that his belief that the

government was patently wrong in the mortgage scandal

started him down the road to believing that the government

did not have the “right” to tax certain proceeds.    Dr.

Allen was blinded to the rocky outcrops that lay dead ahead

and continued to listen to the Sirens’ call that the

waterway ahead was clear of any dangerous obstacles.    The

2010 and 2014 tax refund checks from the federal

government, along with a “zero balance due” letter for Dr.

Allen’s 2011 taxes falsely reinforced and self-confirmed to

Dr. Allen that clear sailing was ensured.

    In 1992, Dr. Allen met the love of his life, Maria

Muñoz.   Within nine months of their first encounter, he
                          Page 7 of 21
asked and then married Ms. Muñoz in October 1992.        Together

they have raised a college attending son, Andrew Allen and

have lived a modest life.    Dr. Allen’s wife served as his

greatest source of encouragement.

    Dr. Allen unknowingly began his journey into the

medical profession during the summer of 1992, by first

attending Community College of Philadelphia.        Dr. Allen

graduated with highest honors in 1994, due in large part to

the encouragement of Community College English professor

Joseph Montgomery along with Maria.        Dr. Allen’s love for

science was ignited by Community College biology professor

Judith Johnson.   He discovered an interest in nursing and

began to volunteer at Jefferson Frankford Hospital in the

emergency room and the intensive care unit.

    Dr. Allen had evolved from a high schooler not

interested in attending school or furthering his education,

to someone enthusiastically exposing himself to new

thoughts and ideas.

    This minor epiphany led directly to Dr. Allen’s

continued educational pursuit within the field of medicine.

Upon graduating from Community College, Dr. Allen enrolled

in Thomas Jefferson School of Nursing and graduated in

1996.   Dr. Allen’s further education is well documented

within the presentence investigation report from his degree
                            Page 8 of 21
of Doctor of Osteopathic Medicine to his award of the

maintenance of certification in the specialty of

anesthesiology from the American Board of Anesthesiology in

2018.   See, PIR paragraphs #51, #52 and #53.

    Dr. Allen would not have achieved such educational and

professional success without his wife’s unwavering support.

Thus, Dr. Allen’s greatest regret is that his conduct

placed his wife in danger of criminal prosecution.

Endangering Maria’s reputation, livelihood and possible

liberty, haunts Dr. Allen more than any punishment imposed

by this Honorable Court or even the probable loss of his

storied medical career.



                 FEDERAL SENTENCING GUIDELINES

    Sentencing courts should apply a three-step analysis in

sentencing criminal defendants.         See, United States v. Wise,

515 F.3d 207 (3d Cir. 2008).

        “, the district court must perform three steps
    in determining the appropriate sentence to impose
    on a defendant. As Gall makes clear, a district
    court     must   begin    the     process      by   correctly
    calculating the applicable Guidelines range. 128
    S.Ct. at 596; see also Gunter, 462 F.3d at 247. As
    part of calculating the applicable range, this
    Court's    precedent     instructs       district   courts   to
    conduct a second step, which is to “formally rule
                              Page 9 of 21
      on the motions of both parties and state on the
      record whether [it is] granting a departure and how
      that departure affects the Guidelines calculation,
      and take into account our Circuit's pre-Booker case
      law,    which   continues     to   have    advisory   force.”
      Gunter, 462 F.3d at 247 (internal quotation marks
      and citation omitted). Finally, after giving both
      sides the chance to argue for the sentences they
      deem    appropriate,    the    court     must   exercise   its
      discretion      by   considering    all    of   the   §3553(a)
      factors and determining the appropriate sentence to
      impose. Gall, 128 S.Ct. at 596; Gunter, 462 F.3d at
      247.”    Wise, 515 F.3d at 216-217.




Calculating Sentencing Guidelines


      In the instant matter, the Presentence Investigation

Report (PIR) accurately reflects the base offense level of 20

as determined by the Tax Table with a range of loss which is

more than $550,00 but less than $1,500,00 pursuant to USSG

§2T4.1(H).     See PIR, paragraph 23.           Upon the application of

the Acceptance of Responsibility provisions at USSG §3E1.1(a)

and USSG §3E1.1(b) respectively the total offense level is

17.   See PIR, paragraph 32.


      Dr. Allen and Butler Memorial Hospital mutually agreed

not to renew Dr. Allen’s employment on or about April 2, 2019.

                               Page 10 of 21
See PIR paragraph #55.       His future employment in the medical

profession is unknown and his wife, Maria at least for the

foreseeable future will be the sole source of income.                   See

PIR paragraph #60. The PIR reports that Dr. Allen’s net worth

is in the negative to the tune of -$123,288.00.                  See PIR

paragraph #59.      The PIR concludes that Dr. Allen possesses

the ability to pay a fine. See PIR paragraph #63.                The PIR

accurately indicates the fine range for the instant offense

as $5,000 to $50,000 pursuant to USSG §§5E1.2(c)(3) and

(h)(1).       See PIR paragraph #74.           Nonetheless, Dr. Allen

respectfully requests this Honorable Court to consider the

above-detailed     factors    along     with     any    other    relevant

information in determining whether Dr. Allen has the current

or future ability to pay any fine or minimizing any fine

imposed.



                    18 U.S.C. §3553 FACTORS

     A sentencing court in exercising its discretion shall

impose    a   sentence   sufficient,     but    not    greater   than   is

necessary, to effectuate the purposes and goals delineated

within 18 U.S.C. §3553.       See, United States v. Booker, 543

U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621(2005).

     Booker requires the sentencing court to consider the

Guideline’s ranges, but it permits the court to tailor the
                              Page 11 of 21
sentence in light of other statutory concerns as well. Booker,

543   U.S.    220.     This     includes        the   unique   history    and

characteristics of each defendant, to include Dr. Allen.

      "It has been uniform and constant in the federal judicial

tradition     for    the     sentencing    judge      to   consider      every

convicted person as an individual and every case as a unique

study    in    the   human     failings    that       sometimes   mitigate,

sometimes magnify, the crime and the punishment to ensue."

Koon v. United States, 518 U.S. 81, 113, 116 S. Ct. 2035, 135

L. Ed. 2d 392 (1996); Gall v United States, 552 U.S. 38, 128

S. Ct. 586, 598, 169 L. Ed 2d 445 (2007); and United States

v Tomko, 562 F.3d 558, 574 (3rd Cir 2009). Dr. Allen’s written

allocution reveals that he personally believed to his core,

based on his non-legally trained research, that there were

strict limitations to the government’s taxing authority.                   He

further indicates that he “felt compelled to do what he

thought was right . . ..”         He also uses the word “courage” to

describe his act of filing his 2010 tax return.                       It is

averred, Dr. Allen was not a man scheming to defraud the

government but rather a principled individual beguiled by

self-confirming and erroneous information that he was in the

right.     This Honorable Court should not interpret the above

as an excuse, but as a personal explanation as to Dr. Allen’s

conduct.      It is respectively requested this Honorable Court
                                Page 12 of 21
consider    Dr.    Allen’s      unique    failings    when    fashioning     an

individualized sentence.

            In addition, “(i)n order for the Guidelines regime

to be truly advisory, a district court must be potentially

able,   when      the   proper    situation       arises,    to   sentence   a

defendant      outside    the     Guidelines      range     but   within   the

statutory      range.    Any     other    conclusion      would   alter    the

statutory      sentencing        scheme     enacted    by     Congress     and

interpreted by Booker.”           Tomko, 562 F.3d 558,574-575.             Dr.

Allen respectfully requests this Honorable Court give due

consideration to a downward variance from the sentencing

guideline range.

    Finally, “[a]s a matter of administration and to

secure nationwide consistency, the Guidelines should be the

starting point and the initial benchmark. The Guidelines

are not the only consideration, however. Accordingly, after

giving both parties an opportunity to argue for whatever

sentence they deem appropriate, the district judge should

then consider all of the 18 U.S.C.S. § 3553(a) factors to

determine whether they support the sentence requested by a

party. In so doing, the district judge may not presume that

the Guidelines range is reasonable.               He must make an

individualized assessment based on the facts presented.”



                                  Page 13 of 21
Gall, 552 U.S. 38, *38; 128 S. Ct. 586, **586; 169 L. Ed.

2d 445, ***447; 2007 U.S. LEXIS 13083, ****1

     A thorough analysis of Dr. Allen’s history, character,

behavior and the nature and circumstances of the offense will

provide    this    Honorable      Court       with    adequate      reasons      and

justification      to    grant      a    downward         variance       from    the

Guidelines.



Nature and Circumstances of the Offense

     As    to    the   nature     and    circumstances        of    the    instant

offense, Dr. Allen has taken full and timely acceptance of

responsibility.         He readily cooperated with the government

upon learning of its investigation. He recognizes and does

not minimize the seriousness of his conduct.                              As noted

throughout this Memorandum, Dr. Allen acknowledges that his

conduct    was    indefensible,         however      he   maintains       that   his

actions    were    neither      motivated       by    greed    nor       for    self-

aggrandizement.        He and his family reside in a modest home in

the Philadelphia area that was purchased in 2007 and has a

current    fair    market    value       of    $650,000       but    a    $733,282

outstanding mortgage.        See PIR, paragraph 59.             Neither he nor

his wife spend lavishly on personal items.                    The one luxury,

so to speak, is periodically travelling to his wife’s home

country,    Colombia.       Dr.     Jeffrey       Astbury      notes       in    his
                                  Page 14 of 21
”Character Letter” that Dr. Allen is a “simple man who lives

a modest lifestyle.        He enjoys the simple things in life such

as watching movies and spending time with his family.                     He

lives to serve others and cherishes his family.”                 Defendant’s

Exhibit F.

       Dr. Allen reiterates that his conduct, at least in his

mind, was principled, yet clearly faulty.                       He convinced

himself, each tax year, that he was fighting the good fight

against a behemoth when he mailed dozens upon dozens of

correspondences to the Internal Revenue Service.                    The tax

refund checks that he received served as false evidence that

he   was   in   the    right.     Dr.   Gail      McCensky   provides   some

illumination of Dr. Allen’s mindset when she writes in her

“Character Letter” that Dr. Allen’s “actions are dictated by

the desire to do right no matter the consequences.” She adds,

“Dr. Allen is a man of honor and integrity held in high regard

by those who know and work with him.                 Perhaps his motives

were   misguided.         That   is     a   far    cry   from    malicious.”

Defendant’s Exhibit G.

       Again, Dr. Allen has no other explanation, sans any

excuse, as to why he would engage in such conduct that

jeopardized his wife’s reputation, livelihood and ultimately

her freedom.          Once hooked on the idea the government was

“wrong”, he stubbornly and repeatedly wanted to be proven
                                 Page 15 of 21
“right” regardless of the glaring consequences to himself and

his wife, Maria.

     The amount of loss is undeniable.            Although, Dr. Allen’s

conduct withheld monies from the government, he does possess

the ability to fully reimburse for the suffered losses.                  Dr.

Allen respectfully requests this Honorable Court to heavily

weigh in his favor, in imposing a sentence, the lack of an

avarice motivation thereby providing him the wherewithal to

fully   reimburse   the   government         in   a    forthwith   manner.

Oftentimes theft and fraud cases are motivated with the

defendant’s desire to live above their means in a lavish

lifestyle squandering the monies they fraudulently acquired.




History and Character of Dr. Allen

     This Honorable Court, in the exercise of its post-Booker

discretion, may impose a sentence sufficient, but not greater

than necessary. See, United States v. Booker, 543 U.S. 220,

125 S.Ct. 738, 160 L.Ed.2d 621(2005).                 Booker requires the

sentencing court to consider the Guideline’s ranges, but it

permits the court to tailor the sentence in light of other

statutory concerns as well. Booker, 543 U.S. 220.                       This

includes   the   unique   history   and      characteristics       of   each

defendant, to include Dr. Allen.
                             Page 16 of 21
     This Honorable Court in the exercise of its sentencing

discretion may consider a multitude of factors in fashioning

a sentence that is sufficient but not greater than necessary.

Although these factors may not individually or in combination

warrant a downward departure but, may serve to justify a

downward variance in the applicable sentencing guidelines.

     Dr. Allen’s early childhood was somewhat disruptive in

being raised by parents suffering from alcohol abuse. See PIR

paragraph #42. In the “Character Letter” authored by Dr.

Allen’s sister, Nancy Lorenz, she further elaborates that

“growing up we were raised in a poor, dysfunctional family.

Alcohol and drug abuse plagued our parent’s (sic) lives and

played a huge role in the violence and dysfunction that we

faced in our childhood.”   Defendant’s Exhibit H.

     Dr. Allen himself admits he has suffered from alcohol

abuse.   See PIR paragraph #47.

     Further disruption occurred when Dr. Allen’s parents

divorced.   Dr. Allen never received a graduating diploma from

a high school, but rather acquired a general educational

development (GED). See PIR paragraph #50.    Nonetheless, Dr.

Allen has maintained almost full employment during his adult

life.    See PIR paragraphs #55-58.

     Dr. Allen epitomizes the self-made person.     Armed with

his GED, Dr. Allen embarked on an educational path that
                           Page 17 of 21
eventually      led   to   a   successful       medical    career    as      an

anesthesiologist.      He and his wife of 27 years, Maria, have

lived modestly while raising their son, Andrew Allen.

     By   all    accounts,     Dr.   Allen      is   a    highly    educated

individual who allowed his skepticism of the government and

the Siren song of “Cracking the Code” to lure him to the brink

of destroying his livelihood and esteemed career.

     Although none of the above-detailed conditions present

to an unusual degree warranting a downward departure from the

calculated guidelines, Dr. Allen avers they do, in their

totality, justify a downward variance from the applicable

sentencing guidelines.

     Dr. Allen urges this Honorable Court to consider the

above-detailed characteristics in imposing its sentence.



Respect for the Law and Just Punishment

     Prior to the instant offense, Dr. Allen had a single

arrest for driving under the influence in 1986.                He was

admitted into the first-time offender’s program, ARD.                   He

successfully completed the program earning the dismissal of

all charges.     See PIR, paragraph 36. This ARD disposition

does not constitute a conviction.              See Pa.R.Cr.P 312,

comment to Pennsylvania Rules of Criminal Procedure.                  An

individual with such a nominal arrest record evinces a
                               Page 18 of 21
personal respect for the law.    Even though the federal

sentencing guideline matrix takes into consideration an

individual’s prior criminal history in establishing the

guideline range, a court may consider such a minimal record

in imposing a downward variance sentence. See Tomko.

Neither will such a sentence diminish respect for the law.

    Moreover, Defendant will make full and faces possible

significant civil penalties from the Internal Revenue

Service.   Paying said restitution without the need for the

government to collect said restitution in monthly

installments, the possible civil penalties, his negative

net worth and the likely loss of his ability to practice

medicine in totality make a fine in the instant case

unnecessary and particularly burdensome.



Adequate Deterrence

    As previously noted, Dr. Allen’s charged conduct

endangered his wife, Maria’s reputation, career and

liberty.   The fact that his conduct jeopardized Maria

coupled with his deep love for her deeply affected him.

    The instant conviction, in and of itself, most likely

prohibits Dr. Allen from continuing in his chosen

profession as an anesthesiologist.        Suffering the loss of a

peer-respected lengthy career will be devastating.
                          Page 19 of 21
    Dr. John Hoffman, Jr., writes “I have never seen him

demonstrate any dishonorable characteristics in both his

personal and professional life.     Time away from his chosen

profession is a disservice to the community.”     Defendant’s

Exhibit I.   Placing his wife in jeopardy and the loss of

his profession arguably serves as a sufficient specific

deterrent to this defendant to ensure no future

criminality.



Sentencing Range Established

    The PIR assesses the Total Offense Level of 17 with a

criminal history category of I, providing for a guideline

range of 24 months to 30 months. PIR, paragraph 65.         The

applicable guideline range falls within Zone D disallowing a

sentence to probation without a downward variation. PIR,

paragraph 70.

 Restitution

    Dr. Allen pursuant to the plea agreement and as noted

within the Presentence Investigation Report recognizes and

accepts his responsibility to pay restitution.        See PIR,

paragraph 75.   Dr. Allen remitted $975,842.29, to the U.S.

District Court Clerk on September 4, 2019 and will address

the interest due in the near future. Defendant’s Exhibit J.



                          Page 20 of 21
                              CONCLUSION

    For the reasons detailed above, Dr. Allen urges this

Honorable Court to impose a sentence that is sufficient, but

not greater than is necessary, to effectuate the ends of

justice   by   granting   a   downward        departure   or   a   downward

variance and sentencing Dr. Allen to probation.



                              Respectfully submitted,


                              By:   /s/ R. Anthony DeLuca
                                    R. Anthony DeLuca, Esquire
                                    PA I.D. # 80751
                                    DeLuca, Ricciuti & Konieczka
                                    225 Ross Street, 4th Floor
                                    Pittsburgh, PA 15219
                                    (412) 281-6869

                                    anthony@drklawyers.com




                              Page 21 of 21
